      Case 2:20-cv-02892-SHL-tmp          Document 623        Filed 09/03/24     Page 1 of 3
                                          PageID 35715



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


JESSICA JONES, et al.,                               Case No. 2:20-cv-02892-SHL-tmp

                    Plaintiﬀs,

v.

VARSITY BRANDS, LLC, et al.

                    Defendants.




          INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR AN AWARD
       OF ATTORNEYS’ FEES, FOR REIMBURSMENT OF EXPENSES, AND FOR
             SERVICE AWARDS FOR THE CLASS REPRESENTATIVES


         Indirect Purchaser Plaintiffs (“IPPs” or “Class Representatives”) Christina Lorenzen,

Jessica Jones, and Amy Coulson, by and through Class Counsel, 1 hereby move this Court for an

award of attorneys’ fees, for reimbursement of expenses, and for service awards for the Class

Representatives from the proceeds of a settlement with Defendants Varsity Brands, LLC; Varsity

Spirit, LLC; Varsity Spirit Fashions & Supplies, LLC; Charlesbank Capital Partners, LLC;

Charlesbank Equity Fund VII, LP; Charlesbank Equity Fund VIII, LP; and Charlesbank Equity

Fund IX, LP; Bain Capital Private Equity LP; Bain Capital Fund XII, L.P., Bain Capital Fund

(DE) XII, L.P., and Bain Capital Fund (Lux) XII, SCSp, U.S. All Star Federation, Inc., and Jeff

Webb, which settlement involved cash payments totaling $82,500,000.00 in addition to

prospective relief. In support of this motion, IPPs submit the following: (i) Memorandum of

Law; (ii) Joint Declaration of Joseph R. Saveri, Jason S. Hartley, Richard M. Paul, Daniel E.

Gustafson, and Van D. Turner, Jr.; (iii) Declaration of Joseph R. Saveri; (iv) Declaration of

1
 “Class Counsel” includes the ﬁve ﬁrms appointed Settlement Class Counsel by the Court:
Joseph Saveri Law Firm, LLP; Hartley LLP, Paul LLP; Gustafson Gluek PLLC; and Turner
Feild, PLLC. See ECF No. 612 at PageID 35672, ¶ 6.
    Case No. 2:20-cv-02892-SHL-tmp        1
        INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEYS’ FEES,
          FOR REIMBURSMENT OF EXPENSES, AND FOR SERVICE AWARDS FOR THE CLASS
                                   REPRESENTATIVES
    Case 2:20-cv-02892-SHL-tmp           Document 623         Filed 09/03/24     Page 2 of 3
                                         PageID 35716



Richard M. Paul III; (v) Declaration of Jason Hartley; (vi) Declaration of Daniel J. Nordin; (vii)

Declaration of Van D. Turner, Jr.; and (viii) Declaration of J. Gerard Stranch, IV.



Dated: September 3, 2024                        Respectfully submitted,

                                                By:       /s/ Joseph R. Saveri
                                                             Joseph R. Saveri

                                                Joseph R. Saveri*
                                                Ronnie Seidel Spiegel*+
                                                David Seidel*
                                                Kevin E. Rayhill*
                                                Elissa A. Buchanan*
                                                JOSEPH SAVERI LAW FIRM, LLP
                                                601 California Street, Suite 1505
                                                San Francisco, California 94108
                                                Telephone: (415) 500-6800
                                                Facsimile: (415) 395-9940
                                                jsaveri@saverilawﬁrm.com
                                                rspiegel@saverilawﬁrm.com
                                                dseidel@saverilawﬁrm.com
                                                krayhill@saverilawﬁrm.com
                                                eabuchanan@saverilawﬁrm.com

                                                Van Turner Jr. (TN Bar No. 22603)
                                                TURNER FEILD, PLLC
                                                2650 �ousand Oaks Blvd., Suite 2325
                                                Memphis, Tennessee 38118
                                                Telephone: (901) 290-6610
                                                Facsimile: (901) 290-6611
                                                VTurner@TurnerFeildLaw.com

                                                Richard M. Paul III*
                                                Ashlea Schwarz*
                                                PAUL LLP
                                                601 Walnut, Suite 300
                                                Kansas City, Missouri 64106
                                                Telephone: (816) 984-8100
                                                rick@paulllp.com
                                                ashlea@paulllp.com

                                                Jason S. Hartley*
                                                HARTLEY LLP
 Case No. 2:20-cv-02892-SHL-tmp        2
     INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEYS’ FEES,
       FOR REIMBURSMENT OF EXPENSES, AND FOR SERVICE AWARDS FOR THE CLASS
                                REPRESENTATIVES
  Case 2:20-cv-02892-SHL-tmp    Document 623     Filed 09/03/24     Page 3 of 3
                                PageID 35717



                                     101 West Broadway, Suite 820
                                     San Diego, CA 92101
                                     Telephone: (619) 400-5822
                                     hartley@hartleyllp.com

                                     Daniel E. Gustafson*
                                     Daniel C. Hedlund*
                                     Daniel J. Nordin*
                                     GUSTAFSON GLUEK PLLC
                                     Canadian Paciﬁc Plaza
                                     120 South Sixth Street, Suite 2600
                                     Minneapolis, MN 55402
                                     Telephone: (612) 333-8844
                                     Facsimile: (612) 339-6622
                                     dgustafson@gustafsongluek.com
                                     dhedlund@gustafsongluek.com
                                     dnordin@gustafsongluek.com

                                     * Admitted pro hac vice

                                     +Located in Washington State

                                     Attorneys for Individual and
                                     Representative Plaintiﬀs




Case No. 2:20-cv-02892-SHL-tmp        3
    INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEYS’ FEES,
      FOR REIMBURSMENT OF EXPENSES, AND FOR SERVICE AWARDS FOR THE CLASS
                               REPRESENTATIVES
